            Case 2:06-cr-00199-RSM           Document 46       Filed 07/17/06      Page 1 of 3



 1                                                                           Hon. Ricardo S. Martinez

 2

 3

 4

 5

 6

 7

 8                                 UNITED STATES DISTRICT COURT
 9                      WESTERN DISTRICT OF WASHINGTON AT SEATTLE
10

11   UNITED STATES OF AMERICA,                       )
                                                     )
12                  Plaintiff,                       ) NO. CR 06-0199 RSM
                                                     )
13          vs.                                      ) ORDER TO CONTINUE TRIAL DATE
                                                     ) AND PRE-TRIAL MOTIONS DEADLINE.
14   DAVID MATUSICKY                                 )
                                                     )
15                  Defendant.                       )
                                                     )
16                                                   )
                                                     )
17

18                                      ORDER OF THE COURT
19          This matter having come before the court on the Defendant’s Motion to Continue the Pre-
20   Trial Motions Deadline from July 6, 2006 to September 21, 2006, and a Motion to Continue the
21
     Trial date from August 21, 2006 to October 30, 2006, and the court having considered the
22
     arguments made by all parties, together with the balance of the records and files herein, This
23
     Court now finds as follows:
24

25
     ORDER OF THE COURT - 1                                            Jesse Cantor,# 26736
                                                                      RIOS CANTOR, P.S.
                                                                     ATTORNEYS AT LAW
                                                                   811 FIRST AVE, SUITE 200
                                                                      SEATTLE, WA 98104
                                                                          (206) 749-5600
             Case 2:06-cr-00199-RSM          Document 46         Filed 07/17/06      Page 2 of 3



 1          That this Motion is the first motion to continue the pre-trial motions deadline and trial

 2   date filed by any party;
 3
            That the Government will be distributing voluminous discovery to the defense during the
 4
     week of July 10, 2006, that includes discovery from a separate but related case, thereby requiring
 5
     additional time for effective defense preparation;
 6
            That the defendant understands his rights to a Speedy Trial pursuant to 18 U.S.C. Section
 7
     3161 and has executed a speedy trial waiver through November 15th 2006;
 8
            That no party, including the United States, opposes a Motion to Continue the pre-trial
 9
     motions deadline and the trial date.
10

11          That this period of delay is reasonable; that the defendants are joined for trial; that the

12   time for trial has not run; and that no motion for severance has yet been granted. 18 U.S.C.

13   Section 3161(h)(7);

14          The Court finds that taking into account the complexity of the case and the exercise of
15   due diligence, that the failure to grant the continuance would deny the defense the reasonable
16
     time for effective trial preparation;
17
            Accordingly, This Court finds that the ends of justice served by granting the requested
18
     continuance outweigh the best interests of the public and the defendants in a speedy trial; 18
19
     U.S.C. Section 3161(h)(8)(A) and Section 3161(h)(8)(B)(iv).
20
               The new proposed dates of [September 21 , 2006], for the motions cut-off deadline, and
21
     [October 30, 2006], for the trial date, do not appear to prejudice any party, including the
22

23
     Government.

24          Accordingly, IT IS HEREBY ORDERED THAT:

25
     ORDER OF THE COURT - 2                                              Jesse Cantor,# 26736
                                                                        RIOS CANTOR, P.S.
                                                                       ATTORNEYS AT LAW
                                                                     811 FIRST AVE, SUITE 200
                                                                        SEATTLE, WA 98104
                                                                            (206) 749-5600
             Case 2:06-cr-00199-RSM           Document 46        Filed 07/17/06      Page 3 of 3



 1           The Pre-Trial Motions Cut-Off date shall be extended to September 21, 2006, with the

 2   trial date of October 30, 2006.
 3
             It is further ordered that the period of delay resulting from this continuance is excludable
 4
     pursuant to 18 U.S.C. Section 3161(h)(8)(A) and (B) as to each co-defendant.
 5

 6
             SO ORDERED ON THIS _17__ DAY OF July 2006.
 7

 8

 9

10
                                                   A
                                                   RICARDO S. MARTINEZ
                                                   UNITED STATES DISTRICT JUDGE
11

12

13

14   Presented by:
15
     s/ Jesse Cantor______
     Jesse Cantor
16   Attorney for the Defendant.

17

18

19

20

21

22

23

24

25
     ORDER OF THE COURT - 3                                             Jesse Cantor,# 26736
                                                                       RIOS CANTOR, P.S.
                                                                      ATTORNEYS AT LAW
                                                                    811 FIRST AVE, SUITE 200
                                                                       SEATTLE, WA 98104
                                                                           (206) 749-5600
